           Case 1:20-cv-01002-APM Document 31 Filed 04/24/20 Page 1 of 2




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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA

 CONFEDERATED TRIBES OF THE
 CHEHALIS RESERVATION, et al.,

                            PLAINTIFFS,

          v.

 STEVEN MNUCHIN, SECRETARY, UNITED
 STATES DEPARTMENT OF THE
 TREASURY,

                            DEFENDANT.

                                                                       Case No. 1:20-cv-1002 (APM)

                                  NOTICE : CHANGE OF ADDRESS

        William K Walker and Walker Reausaw provides notice of a change of address:

                                    William K. Walker
                                    Walker Reausaw
                                    800 Connecticut Ave., # 300
                                    Washington DC 20006



                                                        /S/ William K Walker
                                                        William K. Walker DC Bar #477414
                                                        Walker Reausaw
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Notice: Change of Address
Confederated Tribes, et al. v. Mnuchin, Secretary, U.S. Dept. of Treasury
Case No. 1:20-cv-1002 (APM)
           Case 1:20-cv-01002-APM Document 31 Filed 04/24/20 Page 2 of 2




                                            CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was electronically filed with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

all counsel of record.


        /s/ William K Walker




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Case No. 1:20-cv-1002 (APM)
